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From:           Volkar, Kelly (USACAN)
To:             Trefz, Katherine; Downey, Kevin; Wade, Lance; Saharia, Amy
Cc:             Bostic, John (USACAN); Schenk, Jeffrey (USACAN); Leach, Robert (USACAN)
Subject:        U.S. v. Holmes - Disclosure re Witnesses Week of 9/6
Date:           Thursday, September 2, 2021 6:56:00 PM


Counsel,

Please find below the list of witnesses the government anticipates it may call in its case-in-
chief during the week of September 6. Note that this list may be subject to change based on
unforeseen circumstances and as the trial week progresses.

Erika Cheung
Daniel Edlin
Justin Offen
San Ho Spivey (a.k.a. Danise Yam)

Best,
Kelly

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